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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES,

      Plaintiff,

v.                                                   Case No. 11-20706-D-1

QUENTIN SHERER,

      Defendant.
                                              /

                   ORDER DIRECTING SUPPLEMENTAL PREPARATION
                          FOR THE SENTENCING HEARING

      A jury convicted Quentin Sherer of robbing a bank and of using a firearm in a

crime of violence. 18 U.S.C. §§ 924(c)(1)(C)(i), 2113(a). He will receive a sentence on

May 20, 2013. In advance of the sentencing hearing, the United States moves for an

upward departure from Sherer’s established sentencing-guidelines range on the ground

that Sherer is a de facto career offender. Sherer responds and opposes an upward

departure but never challenges the district court’s authority to sentence him in accord

with a career-offender guidelines range. Sherer can, indeed, be sentenced like a career

offender. With some room left for persuasion, the court thinks that he likely should be.

The parties should prepare for sentencing with these findings in mind.

      The sentencing guidelines assign a penalty “at or near the [statutory] maximum”

to each “career offender,” that is, each person who displays a pattern of felonies

involving violence or the distribution of drugs. See 28 U.S.C. § 994(h). Someone

reading the definition of “career offender” in § 4B1.1 of the guidelines would assume
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that Sherer qualifies. He was over eighteen years old when he committed his present

offense; that offense led to his conviction for a felony crime of violence; and that

conviction is his third conviction for a violent felony. Those three attributes—a sufficient

age, a present violent felony, and at least two previous violent felonies—make one a

career offender under § 4B1.1.

       That is not the end, however. Section 4A1.2(a)(2) says that, when counting a

defendant’s sentences, the sentencing judge should count sentences issued on the

same day together. And § 4B1.2(c) directs the sentencing judge to use § 4A1.2(a)(2)’s

method for counting sentences to count convictions. Convictions received on the same

day therefore count together, as though they constituted only one conviction, under the

career-offender rule. Sherer received at once a sentence for each of his two previous

violent felonies, which therefore contribute only one conviction toward his career-

offender status. Although he has tried to make a career of robbing banks, Sherer is not

in law a career offender.

       But that is still not the end. Section 4A1.3(a)(1) allows the sentencing judge,

using “reliable information,” to adjust a sentence, departing upward from the guidelines

range, to ensure that the sentence adequately reflects the defendant’s criminal history

or the likelihood that he will commit another crime. Further, if a defendant would qualify

as a career offender but for some insubstantial point—the accounting twist in

§ 4A1.2(a)(2), for example—the sentencing judge may use § 4A1.3(a)(1) to depart

directly to a career-offender guidelines range. See United States v. Hardy, 643 F.3d

143, 158 (6th Cir. 2011) (affirming the district court, which established a guidelines

range of 248-to-295 months but under § 4A1.3, based on defendant’s record, departed

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to a range of 420 months-to-life, the range that would have applied had defendant

qualified as a career offender)

       In short, the court may sentence like a career offender a defendant who cannot

be sentenced as a career offender.

       A pertinent operation of § 4A1.3(a)(1) appears in United States v. Lawrence, 349

F.3d 724 (4th Cir. 2003) (Wilkinson, J.). Lawrence had received at the same time two

sentences for robbing two banks in an hour. After he left prison and robbed a third

bank, he was sentenced like a career offender. The Fourth Circuit affirmed the

sentence, stating, “If the second robbery conviction had not been treated [by § 4A1.2]

as a related prior sentence, it would have served as the second predicate offense of a

felony crime of violence to establish Lawrence’s de jure career offender status.” 349

F.3d at 729. “Nothing in the Sentencing Guidelines,” the court said, “prohibits the

district court from considering the second factually distinct but related conviction as a

reason for upward departure under . . . § 4A1.3.” 349 F.3d at 730. Like Lawrence,

Sherer happened to receive two sentences for two discrete robberies at one hearing.

And, like Lawrence, Sherer should not gain from the contingent circumstances of his

sentencing. Sherer was imprisoned from early 2000 until November 2008 for the earlier

two robberies, yet he robbed a bank at gunpoint in July 2009, only eight months after

his release. Almost nine years of incarceration had not deterred him. There is

accordingly no reason to expect that a long imprisonment will deter him now. He

displays the elements of danger and resolve that define, in a practical sense, the term

“career criminal,” and he is therefore a fit subject for a career-offender guidelines range.



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       A sentence within a career-offender guidelines range appears justified not only

as an upward departure, but also as an upward variance under 18 U.S.C. § 3553(a).

See Hardy, 643 F.3d at 158-59 (affirming the district court, which said it would have

chosen the same sentence, even without a departure, by varying upward based on the

“background and history” of the defendant and the “nature of the offense”).

       Sherer conducted an especially menacing robbery. He verbally threatened; he

physically pointed a gun directly at a bank teller’s head; he used accomplices; he fled in

a stolen car. Moreover, the brevity between Sherer’s release from prison and his new

offense establishes that he will not respond to deterrence. He needs to be

incapacitated for an impressive length of time. Other sentencing goals and concerns

are, in this instance, secondary. Accordingly,

       IT IS ORDERED that the parties shall appear at the sentencing hearing prepared

to argue under the assumption that Sherer will be sentenced in accord with a career-

offender guidelines range. More specifically:

       1. Each party should be prepared to identify a proper sentence within the

applicable career-offender guidelines range.

       2. Each party should be prepared to identify which career-offender guidelines

range, § 4B1.1(b) or § 4B1.1(c), applies to Sherer and to provide a reasoned

explanation why the identified range is (if Sherer is treated like a career offender) the

correct range. A reasoned explanation will include discussion of § 2K2.4(c).




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          3. Each party should be prepared to address whether §§ 4B1.1(b) and 4B1.1(c),

when applied to Sherer, produce the same sentencing range.



                                                                s/Robert H. Cleland
                                                               ROBERT H. CLELAND
                                                               UNITED STATES DISTRICT JUDGE

Dated: May 14, 2013


I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, May 14, 2013, by electronic and/or ordinary mail.

                                                                s/Lisa Wagner
                                                               Case Manager and Deputy Clerk
                                                               (313) 234-5522




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